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                                    United States District Court
                                                for
                                      the District of Nevada

                                 PETITION FOR WARRANT
                            FOR OFFENDER UNDER SUPERVISION

Name of Offender: Mikaela Cuevas

Case Number: 2:19CR00321

Name of Sentencing Judicial Officer: Honorable Camille D. Bibles

Date of Original Sentence: November 1, 2019

Original Offense: Assault on a Federal Law Enforcement Officer

Original Sentence: 36 Months probation

Date Supervision Commenced: November 1, 2019

Date Jurisdiction Transferred to District of Nevada: December 17, 2019

Name of Assigned Judicial Officer: Honorable Andrew P. Gordon

                                   PETITIONING THE COURT

‫ ܈‬To issue a summons:


The probation officer believes the offender has violated the following condition(s) of
supervision:

    1. Do Not Commit Another Crime - You must not commit another federal, state or local
       crime.

        A. On or about July 3, 2021, Cuevas was cited by Las Vegas Metropolitan Police
           Department (LVMPD) for the following:

            -     Faster than Posted Speed Limit 11 to 20 MPH Over (52 in a 35), in violation of
                  NRS484B.600c.
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            -     Drive with Suspended/Reoked/Cancelled Driver’s License During Revoked
                  Period, in violation of NRS 483.560.

        B. On or about March 18, 2021, Cuevas was arrested by (LVMPD) officers for the
           following offenses, which are pending in the Las Vegas Justice Court:

        -   Driving Under the Influence, in violation of NRS 484C.110.
        -   Drive with Non Nevada Driver’s License While Nevada Driver’s License
            Suspended/Revoked, in violation of NRS 483.510.
        -   Display Fictitious, cancelled, Revoked, Suspended or Altered Vehicle Registration
            License Plate or Certificate of Title, in violation of NRS 482.545.2.

        C. On December 13, 2019, a bench warrant was issued for Mikaela Cuevas out of the
           Las Vegas Municipal Court for failure to appear on November 7, 2019, for the traffic
           violation of Lane Change-Marked HWY-After Signal NRS: 484B.223.

            On July 30, 2020, the bench warrant was cancelled due to Cuevas’s arrest on July 29,
            2020. Cuevas made bail and was expected to appear before the court for her traffic
            violation on docket number X01808609A on September 23, 2019.

        D. On September 23, 2019, was cited for Lane Change-Marked HWY-After Signal
           NRS: 484B.223

            Cuevas was cited and ordered to appear before the Las Vegas Municipal Court on
            November 7, 2019.

    2. Do Not Unlawfully Possess Controlled Substance - You must not unlawfully possess a
       controlled substance. The use or possession of marijuana, even with a physician’s
       certification, is not permitted.

        A. Cuevas was found to be in possession of marijuana on June 22, 2021 during a home
           visit.

        -   During a home visit, Cuevas’ apartment was noted to have the strong odor of unburnt
            marijuana. She consented to a search of the apartment. During the search, the
            undersigned officer located a bag containing “Pineapple Piss” marijuana in a dresser
            along with her belongings, and a digital scale with what appeared to be marijuana
            residue in the nightstand along with paperwork with her name on it.
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        B. Cuevas was found to be in possession of marijuana on July 25, 2021 during a home
           visit.

        -   During a home inspection at Cuevas’ new apartment, the undersigned officer
            observed a plastic bag containing marijuana in plain view on the kitchen counter near
            the stove. Cuevas reported she is the only person on the lease of the apartment and
            resides in the apartment alone with her two children.

    3. Do Not Unlawfully Use Controlled Substance - You must refrain from any unlawful
       use of a controlled substance. You must submit to one drug test within 15 days of
       placement on probation and at least two periodic drug tests thereafter, as determined by
       the court. (Suspended drug testing at sentencing, added in at modification on April 5,
       2021).

        Cuevas submitted positive drug tests on April 8, 2021, confirmed by Alere Toxicology
        for Oxycodone, Oxymorphone, and marijuana.

    4. Drug Testing – You must submit to substance abuse testing to determine if you have
       used a prohibited substance. Testing shall not exceed 104 tests per year. You must not
       attempt to obstruct or tamper with the testing methods.

        Cuevas failed to submit to a required drug test on the following dates:

        -   April 22, 2021 (failed to arrive)
        -   June 1, 2021 (failed to arrive)
        -   June 18, 2021 (stall and failed to submit to testing after two attempts)

    5. Must Answer Truthfully - You must answer truthfully the questions asked by your
       probation officer.

        A. On March 3, 2020, Cuevas reported to the undersigned officer that she had an
           emergency in Boston, Massachusetts and needed to travel to see her sick and dying
           grandmother. Upon further questioning on March 6, 2020, Cuevas admitted she
           provided false information stating her grandmother was in the hospital and sick when
           she was not in order to obtain a last-minute travel pass out of the district.

        B. On July 20, 2021, Cuevas reported to the undersigned officer that she failed to attend
           counseling at Choices Group because she received an email from Choices Group
           indicating she was not supposed to attend until another time on July 15, 2021. When
           Cuevas was instructed to provide the email to the undersigned officer she admitted
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            she provided fictitious information and never actually received any email from
            Choices Group, and that she simply failed to attend treatment as required.

    6. Must Report As Instructed - After initially reporting to the probation office, you will
       receive instructions from the court or the probation officer about how and when you must
       report to the probation officer, and you must report to the probation officer as instructed.

        Cuevas was instructed to report electronically each month by the 5th day of the month
        when she arrived at the onset of her supervision in the District of Nevada. Cuevas failed
        to report by the 5th day of the month during the following months:

        -   January 2020 and February 2020
        -   August 2020 through December 2020
        -   January 2021 through March 2021
        -   July 2021

    7. Must Not Possess Ammunition - You must not own, possess, or have access to a
       firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
       designed, or was modified for, the specific purpose of causing bodily injury or death to
       another person such as nunchakus or tasers).

        Cuevas was found to be in possession of ammunition on June 22, 2021 during a home
        visit.

        -   During a home visit, Cuevas’ apartment was noted to have the strong odor of unburnt
            marijuana. She consented to a search of the apartment. During the search, the
            undersigned officer located three rounds of 9mm ammunition in the living room area
            on a shelf.

    8. Boaters Safety – You shall complete Boaters Safety Course and provide a written
       verification of completion to the United States Probation Office in Flagstaff, Arizona
       within 180 days of sentencing.

        As of the date of this report, and well past the 180 days, Cuevas has failed to complete
        the Boaters Safety Course.
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    9. Home Confinement with Location Monitoring – You will be monitored by the form of
       location monitoring technology indicated below for a period of 120 days, and you must
       follow the rules and regulations of the location monitoring program. You must pay the
       costs of the program.

        ‫ ܈‬GPS Monitoring (including hybrid GPS).

        This form of location monitoring technology will be used to monitor the following
        restriction on your movement in the community (choose one):

        ‫ ܈‬You are restricted to your residence every day from 9:00 p.m. to 6:00 a.m., or as
        directed by the probation officer.

        Cuevas violated location monitoring and curfew as follows:

        -   May 30, 2021 failed to enter residence by 9:00 p.m. Entered at 9:23 p.m.
        -   June 9, 2021 failed to enter residence by 9:00 p.m. Entered at 9:27 p.m.

    10. Substance Abuse and Alcohol Abuse Treatment – You must participate in an
        outpatient substance abuse and/or alcohol abuse treatment program and follow the rules
        and regulations of that program. The probation officer will supervise your participation in
        the program (provider, location, modality, duration, intensity, etc.).

        Cuevas failed to attend required sessions of treatment at Choices Group on the following
        dates:

        -   April 22, 2021
        -   June 10, 2021
        -   June 24, 2021
        -   July 8, 2021
        -   July 15, 2021


U.S. Probation Officer Recommendation:

The term of supervision should be:

        ‫ ܈‬Revoked
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                                              I declare under penalty of perjury that the
                                              information contained herein is true and correct,

                                              Executed on July 27, 2021

                                                             Digitally signed by
                                                             Bryce Stark
                                                             Date: 2021.07.27
                                              ______________________________
                                                             16:52:51 -07'00'
                                              Bryce D. Stark
                                              Senior United States Probation Officer

Approved:
                     Digitally signed by Ben
                     Johnson
                     Date: 2021.07.27 15:42:32
__________________________________________
                     -07'00'
Benjamin B. Johnson
Supervisory United States Probation Officer
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THE COURT ORDERS


‫܆‬       No Action.
‫܆‬       The issuance of a warrant.
‫܆‬       The issuance of a summons.
‫܆‬       Other:




                                         _____________________________
                                         Signature of Judicial Officer
                                            July 28, 2021
                                         _____________________________
                                         Date
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        UNITED STATES DISTRICT COURT FOR THE DISTRICT OF NEVADA
              UNITED STATES V. MIKAELA CUEVAS, 2:19CR00321

                  SUMMARY IN SUPPORT OF PETITION FOR WARRANT
                                  July 27, 2021

Cuevas was sentenced to 36 months’ probation on November 1, 2019 in the District of Arizona
for a Class A offense. The Court was notified previously of Cuevas being arrested for assault
with a deadly weapon, failure to appear for a traffic violation, receiving a citation for signaling
after a lane change, an arrest for Driving Under the Influence, and reported drug use. As part of
the requested action by the probation office, and the agreement from Cuevas, her conditions were
modified on April 5, 2021, to include alcohol and substance abuse outpatient treatment, drug
testing, no alcohol, and home confinement with location monitoring.

Cuevas has had many issues during her term of supervision, as noted in this petition. She has not
been compliant with testing, treatment, abiding by the law, and other issues noted in this petition.
Multiple attempts have been made to work with her on her shortcomings to address the problems
and provide her the opportunity for correction on her part. Unfortunately, as noted in this
petition, she continues to violate her probation conditions without regard for consequence.

On March 18, 2021, Cuevas was contacted by LVMPD officers at 2:10 a.m. when a vehicle was
seen driving approximately five miles per hour and came to a complete stop in the traffic lane at
Lake Mead Boulevard and Castleberry Lane in Las Vegas, Nevada. As the officer approached in
their vehicle, the vehicle in question turned into a driveway that led to a closed fence. A vehicle
stop was made in the driveway and the female driver, later identified as Cuevas was speaking on
her cellular telephone to a female who Cuevas claimed to be her mother. Cuevas was informed
of the reason for the traffic stop and she informed the officer that she needed her mother to pick
her up. The female on the phone asked where to pick her up and Cuevas said, “right here” twice.
The officer observed that Cuevas pants were extremely wet between her legs as if she had
urinated on herself. Cuevas was asked for her driver’s license and she provided the officer a Visa
debit card, then looked in her purse again, attempted to open her wallet which was already open,
During the contact the officer smelled the odor of alcohol coming from inside the vehicle.
Cuevas was instructed to remove the keys from the vehicle and when she attempted to exit her
vehicle, she was told to stand in front of the patrol vehicle. Cuevas kept repeating herself “I just
want to go home.” When Cuevas exited her vehicle, it was noted her gait was unsteady and she
“walked carefully” to the front of the patrol vehicle. The officer noticed when she exited her
vehicle the smell of an alcoholic beverage increased from her person.

Cuevas was given standardized field sobriety tests at 2:26 a.m. and performed poorly. Cuevas
admitted to the officer that she had consumed “one tequila mixed drink” at approximately 9:00
p.m. to 11:00 p.m. After Cuevas failed the field sobriety tests, she was arrested for Driving
Under the Influence and Drive with Suspended License and Display Suspended Plate. An open
bottle of Pineapple Malibu was found on the passenger floorboard of Cuevas vehicle after he
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arrest. Cuevas consented to a blood sample for testing at the Clark County Detention Center. The
results of the test are still pending, as well as the state charges.

On April 1, 2021, Cuevas was seen by the undersigned officer at the United States Probation
Office. Cuevas verbally admitted that on the date of the arrest she had been at a house party
where she consumed two Sangria Wine Coolers, two tequila and Squirt mixed drinks, and two
shots of tequila before the made the poor decision to drive home from the party. She also
admitted verbally that she used cocaine on the night of the incident and has been smoking
marijuana daily since being on probation. Cuevas still has not completed her boater’s safety
course ordered when she was sentenced to probation but advised that when the undersigned
officer called her to report two days ago, she signed up to take the online class, which costs less
than $50. She also failed to report the new arrest until April 1, 2021. She advised she consumes
alcohol weekly and to intoxication once a month. She reported she blacked out on the night of
the DUI arrest.

Cuevas was placed into counseling for alcohol and substance abuse at Choices Group after the
agreed modification and the Court’s approval. She has not done well with attendance and has
been noted to arrive with her small child, who she reports having approved childcare for at no
cost to her, that has been noted to cause a disruption in therapy. Cuevas has not been employed
and has not been able to provide a logical reason for her failure to participate and attend
treatment as required to assist her with her alcohol and substance abuse issues.

Cuevas has been found to be in possession of ammunition during a home visit and in possession
of marijuana during two separate home visits within just over one month of each other. She has
failed to attend drug testing and failed to submit to one test while she was present at the facility.
This is considered a refusal to submit to testing, which has a mandatory revocation per statute.
The possession of marijuana also falls under mandatory revocation.

Because of Cuevas blatant disregard for conditions of probation and continued violations, it is
respectfully recommended that a summons be issued for her to appear before the Court to answer
to the violations, and that her probation be revoked and she be sentenced accordingly.


                                              Respectfully submitted,
                                                             Digitally signed by
                                                             Bryce Stark
                                                             Date: 2021.07.27
                                              ______________________________
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                                              Bryce D. Stark
                                              Senior United States Probation Officer
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Approved:
                      Digitally signed by Ben
                      Johnson
                      Date: 2021.07.27 15:43:00
__________________________________________
                      -07'00'
Benjamin B. Johnson
Supervisory United States Probation Officer
